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                     UNITED STATES DISTRICT COURT
                     NOTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

SHAUNTE SANFORD,

       Plaintiff,

-vs-                                          CASE NO.:


EQUIFAX INFORMATION
SERVICES LLC, EXPERIAN
INFORMATION SOLUTIONS, INC.,
TRANS UNION LLC, UPSTART
NETWORK, INC., LENDINGPOINT
LLC, and COLLINS ASSET GROUP, LLC,

     Defendants.
______________________________/

               COMPLAINT AND DEMAND FOR JURY TRIAL

       Plaintiff, Shaunte Sanford (hereinafter “Plaintiff”), sues Defendants, Equifax

Information Services LLC, Experian Information Solutions, Inc., Trans Union

LLC, Upstart Network, Inc., Lendingpoint LLC, and Collins Asset Group, LLC,

and in support thereof respectfully alleges violations of the Fair Credit Reporting

Act (“FCRA”), 15 U.S.C. § 1681 et seq.


                         PRELIMINARY STATEMENT




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1.    The Consumer Financial Protection Bureau has noted, “experience indicates

that [Credit Reporting Agencies] lack incentives and under-invest in accuracy”

Consumer Fin. Prot. Bureau, Supervisory Highlights Consumer Reporting Special

Edition 21 (Issue 14, March 2, 2017).


                                  JURISDICTION


2.    Jurisdiction for this Court is conferred by 28 U.S.C. § 1331, as this action

involves violations of the FCRA.


3.    Venue is proper for this Court pursuant to 28 U.S.C. § 1391(b)(2), as this is

the judicial district in which a substantial part of the events or omissions giving

rise to the claims occurred.


4.    Venue is proper in this District as Plaintiff is a natural person and a resident

of Gwinnett County, GA; the violations described in this Complaint occurred in

this District; and the Defendants each transact business within this district.


5.    Plaintiff is a “consumer” as defined by 15 U.S.C. § 1681a(c).


6.    Equifax Information Services LLC (“Equifax”) is a corporation incorporated

under the laws of the State of Georgia. Its registered agent is Lisa Stockard, 1550

Peachtree Street NW, Atlanta, GA 30309.


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7.    Equifax is a “consumer reporting agency,” as defined in 15 U.S.C. § 1681(f).

Equifax is regularly engaged in the business of assembling, evaluating, and

disbursing information concerning consumers for the purpose of furnishing

consumer reports, as defined in 15 U.S.C. § 1681(d) to third parties.


8.    Equifax disburses such consumer reports to third parties under contract for

monetary compensation.


9.    Experian Information Solutions, Inc. (hereinafter “Experian”), is a

corporation incorporated under the laws of the State of California, authorized to

conduct business in the State of Georgia through its registered agent, CT

Corporation System, located at 289 S. Culver St., Lawrenceville, GA 30046.


10.   Experian is a “consumer reporting agency,” as defined in 15 U.S.C. §

1681(f). Experian is regularly engaged in the business of assembling, evaluating,

and disbursing information concerning consumers for the purpose of furnishing

consumer reports, as defined in 15 U.S.C. § 1681(d) to third parties.


11.   Experian disburses such consumer reports to third parties under contract for

monetary compensation.




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12.   Trans Union LLC (hereinafter “Trans Union”), is a corporation with its

principal place of business located in Chicago, IL, authorized to conduct business

in the State of Georgia through its registered agent, Prentice-Hall Corporation

System, located at 40 Technology Parkway South, #300, Norcross, GA 30092.


13.   Trans Union is a “consumer reporting agency,” as defined in 15 U.S.C. §

1681(f). Trans Union is regularly engaged in the business of assembling,

evaluating, and disbursing information concerning consumers for the purpose of

furnishing consumer reports, as defined in 15 U.S.C. § 1681(d) to third parties.


14.   Trans Union disburses such consumer reports to third parties under contract

for monetary compensation.


15.   Upstart Network, Inc. (“Upstart”) is a corporation with a principal place of

business located in Delaware, which is authorized to conduct business in the State

of Georgia through its registered agent Corporation Service Company, located at

40 Technology Parkway South, # 300, Norcross, GA 30092.


16.   Upstart is a “furnisher” of information pursuant to the FCRA.




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17.    Lendingpoint LLC (“Lendingpoint”) is a corporation with its principal place

of business in Georgia. Its registered agent is CT Corporation System, located at

289 S. Culver St., Lawrenceville, GA 30046.


18.    Lendingpoint is a “furnisher” of information pursuant to the FCRA.


19.    Collins Asset Group, LLC (“Collins”) is a corporation with its principal

place of business located at 5725 W. Highway 290, Suite 103, Austin, TX 78735,

authorized to conduct business in the State of Georgia through its registered agent,

URS Agents, Inc. (CA), 3675 Crestwood Parkway Suite 350, Duluth, GA 30096.


                           FACTUAL ALLEGATIONS


20.    Equifax, Experian, and Trans Union are the “big three” credit reporting

agencies in America.


21.    In mid-2020 it came to Plaintiff’s attention that his Equifax, Experian, and

TransUnion credit reports contained many errors.


22.    First, the reports inaccurately indicated that Plaintiff had formerly resided at

two addresses in New York that did not belong to him.


23.    Second, the reports contained a social security number that did not belong to

Plaintiff.

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24.    Third, the reports contained accounts with Upstart, Lendingpoint, and

Collins that did not belong to Plaintiff.


25.    Plaintiff disputed these inaccuracies with Equifax, Experian, and Trans

Union.


26.    Equifax never responded to Plaintiff’s dispute, which is a violation of the

FCRA in itself.


27.    Experian responded to Plaintiff’s dispute by verifying the false information

it is reporting about Plaintiff.


28.    Trans Union responded to Plaintiff’s dispute by verifying the false

information it is reporting about Plaintiff.


29.    In response to Plaintiff’s dispute, Upstart verified the false information it is

furnishing to Equifax, Experian, and Trans Union.


30.    In response to Plaintiff’s dispute, Lendingpoint verified the false information

it is furnishing to Equifax, Experian, and Trans Union.


31.    In response to Plaintiff’s dispute, Collins verified the false information it is

furnishing to Equifax, Experian, and Trans Union.



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32.    Plaintiff has never had any account or business dealings with Upstart,

Lendingpoint, or Collins, and to this date does not understand why these

companies are furnishing information to credit reporting agencies about Plaintiff.


33.    To date, Equifax, Experian, and Trans Union continue to report the false

information being furnished by Upstart, Lendingpoint, and Collins.


34.    The false information being furnishing by Upstart, Lendingpoint, and

Collins, and subsequently reported by Equifax, Experian, and Trans Union, has

caused Plaintiff’s credit score to plummet.


35.    The false information being furnishing by Upstart, Lendingpoint, and

Collins, and subsequently reported by Equifax, Experian, and Trans Union, has

caused Plaintiff to suffer from stress, anger, worry, sleeplessness, and loss of

personal time.


                             CAUSES OF ACTION


                                    COUNT I
            Violations of the Fair Credit Reporting Act as to Equifax
36.    Plaintiff re-alleges and incorporates paragraphs 1 through 35 above as if

fully set forth herein.




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37.   Equifax violated 15 U.S.C. § 1681e(b) by failing to establish or to follow

reasonable procedures to assure maximum possible accuracy in the preparation of

the credit report and credit files it published and maintains concerning the Plaintiff.


38.   As a result of this conduct, action, and inaction of Equifax, Plaintiff suffered

a diminished credit score, loss of his personal time, and emotional distress.


39.   Equifax’s conduct, action, and inaction was willful, rendering it liable for

punitive damages in an amount to be determined by the Court pursuant to 15

U.S.C. § 1681n. In the alternative, it was negligent, entitling the Plaintiff to recover

under 15 U.S.C. § 1681o.


40.   The Plaintiff is entitled to recover costs and attorney’s fees from Equifax in

an amount to be determined by the Court pursuant to 15 U.S.C. § 1681n and/or §

1681o.


41.   Equifax knew or should have known the accounts in question were

inaccurate based on the documentation provided by Plaintiff, yet continues to

report that information.


      WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues

so triable and judgment against Defendant, Equifax, for statutory damages,


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punitive damages, actual damages, costs, interest, attorney fees, enjoinder from

further violations of these parts, and any other such relief the Court may deem just

and proper.


                                       COUNT II
               Violations of the Fair Credit Reporting Act as to Equifax
42.    Plaintiff re-alleges and incorporates paragraphs 1 through 35 above as if

fully set forth herein.


43.    Equifax      violated 15 U.S.C. § 1681i by failing to delete inaccurate

information in Plaintiff’s credit file after receiving notice of such inaccuracies, by

failing to conduct a lawful reinvestigation, and by failing to maintain reasonable

procedures with which to filter and verify disputed information in the Plaintiff’s

credit file.


44.    As a result of this conduct, action, and inaction of Equifax, Plaintiff suffered

damage by reduced credit score, of the ability to purchase and benefit from credit,

and the mental and emotional pain stemming from the anguish, humiliation, and

embarrassment of a negative credit report.


45.    Equifax’s conduct, action, and inaction was willful, rendering it liable for

actual or statutory damages, and punitive damages in an amount to be determined


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by the Court pursuant to 15 U.S.C. § 1681n. In the alternative, it was negligent

entitling Plaintiff to recover under 15 U.S.C. § 1681o.


46.    Plaintiff is entitled to recover costs and attorney’s fees from Equifax in an

amount to be determined by the Court pursuant to 15 U.S.C. § 1681n and/or §

1681o.


       WHEREFORE, Plaintiff demands judgment and compensatory and

punitive damages against Defendant, Equifax, jointly and severally; for his

attorney fees and costs; for pre-judgment and post-judgment interest at the legal

rate, and such other relief the Court does deem just, equitable, and proper.


                                   COUNT III
           Violations of the Fair Credit Reporting Act as to Experian
47.    Plaintiff re-alleges and incorporates paragraphs 1 through 35 above as if

fully set forth herein.


48.    Experian violated 15 U.S.C. § 1681e(b) by failing to establish or to follow

reasonable procedures to assure maximum possible accuracy in the preparation of

the credit report and credit files it published and maintains concerning Plaintiff.




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49.      As a result of this conduct, action, and inaction of Experian, Plaintiff

suffered loss of his personal time, emotional distress, and a diminished credit

score.


50.      Experian’s conduct, action, and inaction was willful, rendering it liable for

punitive damages in an amount to be determined by the Court pursuant to 15

U.S.C. § 1681n. In the alternative, it was negligent, entitling the Plaintiff to recover

under 15 U.S.C. § 1681o.


51.      Plaintiff is entitled to recover costs and attorney’s fees from Experian in an

amount to be determined by the Court pursuant to 15 U.S.C. § 1681n and/or §

1681o.


52.      Experian had all the information it needed to determine that the information

it is reporting is false, but failed to do so.


         WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues

so triable and judgment against Defendant, Experian, for statutory damages,

punitive damages, actual damages, costs, interest, attorney fees, enjoinder from

further violations of these parts and any other such relief the Court may deem just

and proper.



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                                       COUNT IV
               Violations of the Fair Credit Reporting Act as to Experian
53.    Plaintiff re-alleges and incorporates paragraphs 1 through 35 above as if

fully set forth herein.


54.    Experian violated 15 U.S.C. § 1681i by failing to delete inaccurate

information in the Plaintiff’s credit file after receiving notice of such inaccuracies,

by failing to conduct a lawful reinvestigation, and by failing to maintain reasonable

procedures with which to filter and verify disputed information in the Plaintiff’s

credit file.


55.    As a result of this conduct, action, and inaction of Experian, Plaintiff

suffered damage by reduced credit score, loss of the ability to purchase and benefit

from credit, and the mental and emotional pain stemming from the anguish,

humiliation, and embarrassment of a negative credit report.


56.    Experian’s conduct, action, and inaction was willful, rendering it liable for

actual or statutory damages, and punitive damages in an amount to be determined

by the Court pursuant to 15 U.S.C. § 1681n. In the alternative, it was negligent

entitling Plaintiff to recover under 15 U.S.C. § 1681o.




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57.    Plaintiff is entitled to recover costs and attorney’s fees from Experian in an

amount to be determined by the Court pursuant to 15 U.S.C. § 1681n and/or §

1681o.


       WHEREFORE, Plaintiff demands judgment and compensatory and

punitive damages against Defendant, Experian, jointly and severally; for his

attorney fees and costs; for pre-judgment and post-judgment interest at the legal

rate, and such other relief the Court does deem just, equitable, and proper.


                                  COUNT IV
         Violations of the Fair Credit Reporting Act as to Trans Union
58.    Plaintiff re-alleges and incorporates paragraphs 1 through 35 above as if

fully set forth herein.


59.    Trans Union violated 15 U.S.C. § 1681e(b) by failing to establish or to

follow reasonable procedures to assure maximum possible accuracy in the

preparation of the credit report and credit files it published and maintains

concerning the Plaintiff.


60.    As a result of this conduct, action, and inaction of Trans Union, Plaintiff

suffered a reduced credit score, loss of his personal time, and emotional distress.




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61.    Trans Union’s conduct, action, and inaction was willful, rendering it liable

for punitive damages in an amount to be determined by the Court pursuant to 15

U.S.C. § 1681n. In the alternative, it was negligent, entitling the Plaintiff to recover

under 15 U.S.C. § 1681o.


62.    Plaintiff is entitled to recover costs and attorney’s fees from Trans Union in

an amount to be determined by the Court pursuant to 15 U.S.C. § 1681n and/or

§ 1681o.


63.    Trans Union knew or should have known the accounts in question were

inaccurate based on the documentation provided by Plaintiff, yet continues to

report that information.


       WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues

so triable and judgment against Defendant, Trans Union, for statutory damages,

punitive damages, actual damages, costs, interest, attorney fees, enjoinder from

further violations of these parts and any other such relief the Court may deem just

and proper.


                                    COUNT VI
           Violations of the Fair Credit Reporting Act as to Trans Union




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64.    Plaintiff re-alleges and incorporates paragraphs 1 through 35 above as if

fully set forth herein.


65.    Trans Union violated 15 U.S.C. § 1681i by failing to delete inaccurate

information in the Plaintiff’s credit file after receiving notice of such inaccuracies,

by failing to conduct a lawful reinvestigation, and by failing to maintain reasonable

procedures with which to filter and verify disputed information in the Plaintiff’s

credit file.


66.    As a result of this conduct, action, and inaction of Trans Union, Plaintiff

suffered damage by reduced credit score, loss of the ability to purchase and benefit

from credit, and the mental and emotional pain stemming from the anguish,

humiliation, and embarrassment of a negative credit report.


67.    Trans Union’s conduct, action, and inaction was willful, rendering it liable

for actual or statutory damages, and punitive damages in an amount to be

determined by the Court pursuant to 15 U.S.C. § 1681n. In the alternative, it was

negligent entitling Plaintiff to recover under 15 U.S.C. § 1681o.


68.    Plaintiff is entitled to recover costs and attorney’s fees from Trans Union in

an amount to be determined by the Court pursuant to 15 U.S.C. § 1681n and/or §

1681o.

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       WHEREFORE, Plaintiff demands judgment and compensatory and

punitive damages against Defendant, Trans Union, jointly and severally; for his

attorney fees and costs; for pre-judgment and post-judgment interest at the legal

rate, and such other relief the Court does deem just, equitable, and proper.


                                   COUNT VII
            Violations of the Fair Credit Reporting Act as to Upstart
69.    Plaintiff re-alleges and incorporates paragraphs 1 through 35 above as if

fully set forth herein.


70.    Upstart furnished inaccurate representations to credit reporting agencies and

through those credit reporting agencies to all of Plaintiff’s potential lenders on

multiple occasions.


71.    Upstart violated 15 U.S.C. §1681s-2(b) by failing to fully and properly

investigate Plaintiff’s dispute of its representations; by failing to review all relevant

information regarding same; by failing to correctly report results of an accurate

investigation to every other credit reporting agency; and by failing to permanently

and lawfully correct its own internal records to prevent the re-reporting of its own

inaccurate representations to the consumer reporting agencies.




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72.    Upstart violated 15 U.S.C. §1681s-2(b) by continuing to furnish inaccurate

information to Equifax, Experian, and Trans Union after it had been notified that

the information it was furnishing was inaccurate.


73.    Upstart did not have any reasonable basis to believe that Plaintiff was ever

responsible for the account. It also had substantial evidence by which to have

verified that Plaintiff was not responsible. Instead, it knowingly chose to follow

procedures which did not review, confirm, or verify the information it furnished

about Plaintiff.


74.    As a result of the conduct, action and inaction of Upstart, Plaintiff suffered

damage by loss of the ability to purchase and benefit from credit, reduced credit

score, and mental and emotional pain stemming from the anguish, humiliation, and

embarrassment of a diminished credit score/a credit report that has a derogatory

remark.


75.    Upstart’s conduct, action, and/or inaction was willful, rendering it liable for

punitive damages in an amount to be determined by the Court pursuant to 15

U.S.C. § 1681n. In the alternative, it was negligent, entitling Plaintiff to recover

under 15 U.S.C. 1681o.




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76.    Plaintiff is entitled to recover his reasonable attorney’s fees and costs from

Upstart in an amount to be determined by the Court pursuant to 15 U.S.C. § 1681n

and/or § 1681o.


       WHEREFORE, Plaintiff respectfully requests that this Court award

statutory, actual and punitive damages against Upstart to Plaintiff; award Plaintiff

his reasonable attorney’s fees and the costs of this action pursuant to 15 U.S.C. §

1681n and/or §1681o; and grant all such additional relief as the Court deems

appropriate.


                                  COUNT VIII
         Violations of the Fair Credit Reporting Act as to Lendingpoint
77.    Plaintiff re-alleges and incorporates paragraphs 1 through 35 above as if

fully set forth herein.


78.    Lendingpoint furnished inaccurate representations to credit reporting

agencies and through those credit reporting agencies to all of Plaintiff’s potential

lenders on multiple occasions.


79.    Lendingpoint violated 15 U.S.C. §1681s-2(b) by failing to fully and properly

investigate Plaintiff’s dispute of its representations; by failing to review all relevant

information regarding same; by failing to correctly report results of an accurate


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investigation to every other credit reporting agency; and by failing to permanently

and lawfully correct its own internal records to prevent the re-reporting of its own

inaccurate representations to the consumer reporting agencies.


80.    Lendingpoint violated 15 U.S.C. §1681s-2(b) by continuing to furnish

inaccurate information to Equifax, Experian, and Trans Union after it had been

notified that the information it was furnishing was inaccurate.


81.    Lendingpoint did not have any reasonable basis to believe that Plaintiff was

ever responsible for the account. It also had substantial evidence by which to have

verified that Plaintiff was not responsible. Instead, it knowingly chose to follow

procedures which did not review, confirm, or verify the information it furnished

about Plaintiff.


82.    As a result of the conduct, action and inaction of Lendingpoint, Plaintiff

suffered damage by loss of the ability to purchase and benefit from credit, reduced

credit score, and mental and emotional pain stemming from the anguish,

humiliation, and embarrassment of a diminished credit score/a credit report that

has a derogatory remark.


83.    Lendingpoint’s conduct, action, and/or inaction was willful, rendering it

liable for punitive damages in an amount to be determined by the Court pursuant to

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15 U.S.C. § 1681n. In the alternative, it was negligent, entitling Plaintiff to recover

under 15 U.S.C. 1681o.


84.    Plaintiff is entitled to recover his reasonable attorney’s fees and costs from

Lendingpoint in an amount to be determined by the Court pursuant to 15 U.S.C. §

1681n and/or § 1681o.


       WHEREFORE, Plaintiff respectfully requests that this Court award

statutory, actual and punitive damages against Lendingpoint to Plaintiff; award

Plaintiff his reasonable attorney’s fees and the costs of this action pursuant to 15

U.S.C. § 1681n and/or §1681o; and grant all such additional relief as the Court

deems appropriate.


                                   COUNT IX
            Violations of the Fair Credit Reporting Act as to Collins
85.    Plaintiff re-alleges and incorporates paragraphs 1 through 35 above as if

fully set forth herein.


86.    Collins furnished inaccurate representations to credit reporting agencies and

through those credit reporting agencies to all of Plaintiff’s potential lenders on

multiple occasions.




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87.    Collins violated 15 U.S.C. §1681s-2(b) by failing to fully and properly

investigate Plaintiff’s dispute of its representations; by failing to review all relevant

information regarding same; by failing to correctly report results of an accurate

investigation to every other credit reporting agency; and by failing to permanently

and lawfully correct its own internal records to prevent the re-reporting of its own

inaccurate representations to the consumer reporting agencies.


88.    Collins violated 15 U.S.C. §1681s-2(b) by continuing to furnish inaccurate

information to Equifax, Experian, and Trans Union after it had been notified that

the information it was furnishing was inaccurate.


89.    Collins did not have any reasonable basis to believe that Plaintiff was ever

responsible for the account. It also had substantial evidence by which to have

verified that Plaintiff was not responsible. Instead, it knowingly chose to follow

procedures which did not review, confirm, or verify the information it furnished

about Plaintiff.


90.    As a result of the conduct, action and inaction of Collins, Plaintiff suffered

damage by loss of the ability to purchase and benefit from credit, reduced credit

score, and mental and emotional pain stemming from the anguish, humiliation, and




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embarrassment of a diminished credit score/a credit report that has a derogatory

remark.


91.    Collins conduct, action, and/or inaction was willful, rendering it liable for

punitive damages in an amount to be determined by the Court pursuant to 15

U.S.C. § 1681n. In the alternative, it was negligent, entitling Plaintiff to recover

under 15 U.S.C. 1681o.


92.    Plaintiff is entitled to recover his reasonable attorney’s fees and costs from

Collins in an amount to be determined by the Court pursuant to 15 U.S.C. § 1681n

and/or § 1681o.


       WHEREFORE, Plaintiff respectfully requests that this Court award

statutory, actual and punitive damages against Collins to Plaintiff; award Plaintiff

his reasonable attorney’s fees and the costs of this action pursuant to 15 U.S.C. §

1681n and/or §1681o; and grant all such additional relief as the Court deems

appropriate.



                                       Respectfully Submitted,




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                              /s/ Octavio “Tav” Gomez
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